                     EXHIBIT A




{00464328.DOCX; 4}
                                                  CGPN, LLC
                                                       730 Coquina CT
                                                     Boca Raton, FL 33432


November 17, 2021

To Whom it May Concern:

The following sets forth the out-of-pocket travel expenses of CGPN, LLC representatives related to the Aluminum
Shapes, LLC transaction:

 Date                      Description                                                                                  Amount
 9/20/2021                 D. Muslin: Commercial Flight - FLL-PHL                                                   $    406.40
 9/20/2021                 D. Muslin: hotel                                                                         $    248.74
 9/20/2021                 D. Muslin: Meal                                                                          $     11.27
 9/21/2021                 D. Muslin: Uber                                                                          $     58.18
 9/21/2021                 A. Mazer: Commercial Flight - Htfd-Phil*                                                 $    416.00
 9/21/2021                 A. Mazer: Meal                                                                           $    108.65
 9/21/2021                 A. Mazer: rental car                                                                     $     66.96
 9/21/2021                 A. Mazer: Commercial Flight - PHL-ORD                                                    $    194.40
 9/21/2021                 W. Firestone: Commercial Flight - Htfd-Phil-Htfd*                                        $    832.00
 9/28/2021                 B. Poitras: Commercial Flight - BOS-PHL-BOS                                              $    596.81
 10/7/2021                 W. Firestone: Commercial Flight - Htfd-Phil-Htfd*                                        $    832.00
 10/7/2021                 D. Muslin: Commercial Flight - ORD-PHL-ORD*                                              $    816.00
 10/7/2021                 A. Mazer: Amtrack - Bltm-Phil                                                            $     38.00
 10/7/2021                 A. Mazer: Lyft                                                                           $     25.89
 10/7/2021                 A. Mazer: Commercial Flight - PHL-ORD*                                                   $    408.00
 10/20/2021                B. Poitras: hotel                                                                        $    278.31
 10/14/2021                D. Muslin: Court Solutions hearing fee                                                   $     50.00
 11/10-11/11/21            W. Firestone: Commercial Flight - Miami-Phil-Miami*                                      $    527.00
 11/10-11/11/21            D. Muslin: Commercial Flight - Miami-Phil-Miami*                                         $    527.00
 11/10/2021                W. Firestone: hotel                                                                      $    155.89
 11/10/2021                D. Muslin: hotel                                                                         $    158.39
 11/10-11/11/21            W. Firestone: rental car                                                                 $     48.84
 11/10/2021                B. Poitras: hotel                                                                        $    327.65
 11/10/2021                D. Muslin: meal                                                                          $     25.17
                           TOTAL                                                                                     $ 7,157.55


* Note: Commercial Flight costs are for refundable commercial airline tickets. Representatives flew privately but are only charging
  commercial pricing.

The foregoing is an accurate representation of the costs described.


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David A. Muslin
Manager
